             Case 8:18-bk-12565-TA                       Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04                                       Desc
                                                         Main Document    Page 1 of 72
 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 CENTRAL DIST. OF CALIFORNIA

 Case number (if known):                                     Chapter       11
                                                                                                                     Check if this is an
                                                                                                                      amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Anton & Chia, LLP

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           2      6      –      4      1        7    5         7   2     3

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       101 Hallmark                                                    P.O. Box 60606
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Irvine                              CA       92620              Irvine                         CA      90602
                                       City                                State    ZIP Code           City                           State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Orange                                                          from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                           State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor Anton & Chia, LLP                                                                  Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                      
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)

                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?                   
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                           4/01/19 and every 3 years after that).


                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return or if
                                                               all of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.


                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                          Chapter 12

9.   Were prior bankruptcy                No
     cases filed by or against
     the debtor within the last 8         Yes. District                                          When                      Case number
     years?                                                                                                MM / DD / YYYY
                                                District                                          When                      Case number
     If more than 2 cases, attach a
                                                                                                           MM / DD / YYYY
     separate list.
                                                District                                          When                      Case number
                                                                                                           MM / DD / YYYY




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor Anton & Chia, LLP                                                                 Case number (if known)

10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes. Debtor Gregory Anton Wahl                                     Relationship Owner
    affiliate of the debtor?
                                                  District Central District SA                                When           07/06/2018
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known 18-12449-TA


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.


                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                No
    have possession of any
    real property or personal
                                          Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
                                                needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                    It needs to be physically secured or protected from the weather.

                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).


                                                    Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                    No
                                                    Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds
                                       Funds will be available for distribution to unsecured creditors.
                                       After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
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 Fill in this information to identify the case:
 Debtor name        Anton & Chia, LLP

 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number                                                                                                              Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and          Name, telephone         Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email       (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of              debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor                professional          unliquidated,   secured, fill in total claim amount and
                               contact                 services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction        Unsecured
                                                                                             claim, if       for value        claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Georgia and Greg Wahl                              Loans                 Disputed                                         $4,075,000.00
    Wahl Family Trust
    101 hallmark, Irvine
    Irvine, CA 92620



2   Nicholas A. Pulecio                                Breach of Contract    Disputed                                         $2,000,000.00
    102 Verillion
    Irvine, CA 92603




3   SEC                                                Reporting             Disputed                                         $1,000,000.00
    Attn. Bankruptcy Dept
    5670 Wilshire Blvd. 11th
    Fl
    Los Angeles, CA 90036

4   East West Bank                                     Secured Loans         Disputed          $977,820.00            $0.00     $977,820.00
    14945 Jeffrey Rd. #150
    Irvine, 92618




5   East West Bank                                     Secured Loans         Disputed          $802,108.00            $0.00     $802,108.00
    14945 Jeffrey Rd. #150
    Irvine, 92618




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 1
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Debtor       Anton & Chia, LLP                                                  Case number (if known)
             Name


 Name of creditor and          Name, telephone      Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email    (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of           debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor             professional          unliquidated,   secured, fill in total claim amount and
                               contact              services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction        Unsecured
                                                                                          claim, if       for value        claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
6   SKHart Bayview, LLC                             Breach of Lease       Disputed                                           $603,620.00
    c/o Felman Daggenhurst
    & El Dabe
    13743 Ventura Blvd. #
    350
    Sherman Oaks, CA
7   Raymond J. Zale &                               Collecting for -      Disputed                                           $564,500.00
    Associates, Inc                                 Raymond J Zale
    c/o Dismuke & Waters
    2000 E. Lamar Blvd. #
    500
    Arlington, TX 76006
8   Internal Revenue Service                        Payroll Taxes         Disputed                                           $416,500.00
    Central Insolvency
    Operations
    P.O. Box 7346
    Philadelphia, PA 19101

9   W. Michael Corson & Co                          Collecting for - W.   Disputed                                           $256,547.00
    c/o Keehn Law Gourp,                            Michael Corson
    APC
    501 W. Broadway #1025
    San Diego, CA 92101

10 Dell Financial Services                          Equipment             Disputed                                           $237,000.00
   One Dell Way
   Round Rock, TX 78682




11 Swift Financial                                  Business Loan         Disputed          $234,000.00            $0.00     $234,000.00
   Corporation
   dba Swift Capital
   c/o Law Office of Daren
   M. Schlecter APC
   1925 Century Park East #
12 Matthew and Carly Wahl                           Loans                 Disputed                                           $200,000.00
   Children's Trust
   101 hallmark, Irvine
   Irvine, CA 92620



13 Californa Dept of Tax                            Employment Tax        Disputed                                           $178,500.00
   and Fee Admi
   P.O. Box 942879
   Sacramento, CA94279




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
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Debtor       Anton & Chia, LLP                                                  Case number (if known)
             Name


 Name of creditor and          Name, telephone      Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email    (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of           debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor             professional          unliquidated,   secured, fill in total claim amount and
                               contact              services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
14 Westlake Park Place, Inc.                        Lease                 Disputed                                           $120,160.27
   P.O. Box 6149
   Hicksville, NY 11802




15 Faegre, Baker & Daniels                          Services              Disputed                                             $93,440.67
   1700 Lincoln St.
   Denver, CO 80203




16 Gartenberg, Gelfand,                             Legal Fees            Disputed                                             $81,521.57
   Hayton, LLP
   15260 Ventura Blvd. #
   1920
   Sherman Oaks, CA
   91403
17 Stout Risius Ross, LLC                           Expert Fees           Disputed                                             $78,912.00
   1550 Wewatta Street
   2nd Fl
   Denver, CO 80202



18 Kevin Su                                         Fees                  Disputed                                             $75,000.00
   220-1075 West Georgia
   St.
   Vancouver, BC
   Canada, V6E3C9

19 TCF Equipment                                    Breach of Contract    Disputed                                             $53,720.57
   15450 S. Outer Forty Dr.
   #220
   Chesterfiled, MO 63017



20 CSP Networks                                     Sevices               Disputed                                             $45,910.00
   18 Technology Dr. #118
   Irvine, CA 92618




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
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 Fill in this information to identify the case:


 Debtor Name Anton & Chia, LLP

 United States Bankruptcy Court for the:                      CENTRAL DIST. OF CALIFORNIA

 Case number (if known):                                                                                                                                                                  Check if this is an
                                                                                                                                                                                           amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                 12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                                 $0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B...........................................................................................................................                        $2,834,618.27

     1c. Total of all property
         Copy line 92 from Schedule A/B.............................................................................................................................                       $2,834,618.27


 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.......................................                                                    $2,050,928.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................                                        $597,237.64

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                            +   $11,305,185.49


4.   Total liabilities
     Lines 2 + 3a + 3b.............................................................................................................................................................       $13,953,351.13




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case
 Debtor name        Anton & Chia, LLP

 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
 (if known)                                                                                                       Check if this is an
                                                                                                                   amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                             12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:       Cash and cash equivalents

1.   Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes. Fill in the information below.


     All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                           debtor's interest

2.   Cash on hand

3.   Checking, savings, money market, or financial brokerage accounts (Identify all)

     Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                      account number
4.   Other cash equivalents       (Identify all)

     Name of institution (bank or brokerage firm)

5.   Total of Part 1
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                           $0.00


 Part 2: Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes. Fill in the information below.




Official Form 206A/B                               Schedule A/B: Assets -- Real and Personal Property                                          page 1
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Debtor         Anton & Chia, LLP                                                              Case number (if known)
               Name

                                                                                                                            Current value of
                                                                                                                            debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

7.1.    Regus Mgmt Group, LLC
        5000 Birch St. #3000
        Newport Beach, CA 92660                                                                                                        $4,800.00
7.2.    Regus Mgmt Group, LLC
        2745 Townsgate Rd. #200
        Westlake Village, CA 91361                                                                                                     $7,832.41
8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

9.     Total of Part 2.
       Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                      $12,632.41


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes. Fill in the information below.
                                                                                                                            Current value of
                                                                                                                            debtor's interest
11. Accounts receivable

11a. 90 days old or less:            $600,999.26              –                 $0.00                  = ..............            $600,999.26
                             face amount                          doubtful or uncollectible accounts

11b. Over 90 days old:                   $0.00                –                 $0.00                  = ..............                    $0.00
                             face amount                          doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                    $600,999.26


 Part 4: Investments

13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes. Fill in the information below.
                                                                                               Valuation method             Current value of
                                                                                               used for current value       debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

           Name of entity:                                                  % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

           Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                            $0.00




Official Form 206A/B                             Schedule A/B: Assets -- Real and Personal Property                                             page 2
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Debtor       Anton & Chia, LLP                                                       Case number (if known)
             Name


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes. Fill in the information below.

     General description                         Date of the     Net book value of     Valuation method           Current value of
                                                 last physical   debtor's interest     used for current value     debtor's interest
                                                 inventory       (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                  $0.00

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes. Fill in the information below.

     General description                                         Net book value of     Valuation method           Current value of
                                                                 debtor's interest     used for current value     debtor's interest
                                                                 (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                  $0.00

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
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Debtor       Anton & Chia, LLP                                                           Case number (if known)
             Name

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes
 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes. Fill in the information below.

     General description                                            Net book value of     Valuation method         Current value of
                                                                    debtor's interest     used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Computers Cabinents desks                                               $4,000.00    Experience                            $100.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                $100.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes
 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes. Fill in the information below.

     General description                                            Net book value of     Valuation method         Current value of
     Include year, make, model, and identification numbers          debtor's interest     used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                   $0.00




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                      page 4
              Case 8:18-bk-12565-TA                   Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04                                  Desc
                                                      Main Document    Page 21 of 72
Debtor        Anton & Chia, LLP                                                          Case number (if known)
              Name

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes
 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.


55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of     Valuation method       Current value of
       Include street address or other description    of debtor's interest   debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

      Customer List 1.5M based on one time
      payments                                                        $1,500,000.00       Experience                            $1,500,000.00
64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                $1,500,000.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes


Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                            page 5
             Case 8:18-bk-12565-TA                      Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04                        Desc
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Debtor       Anton & Chia, LLP                                                           Case number (if known)
             Name

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes. Fill in the information below.

                                                                                                                  Current value of
                                                                                                                  debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

     Brian Rusywick - Botfly / Treadstone
     2526 Ballesteros Lane
     P.O. Box 14244
     Irvine, CA 92623

     David P Mclaughlin
     McLauphlin & Associates, LLC
     3806 Serenade Ln #225
     Lakeland, FL 33811

     Pavlo Zaderej
     Prime Grouo Holdings, LLC
     85 Railroad Place
     Saratoga Springs, NY 12866

     Robert Arkelian                                                                                                    $1,500,000.00
     Nature of claim             Breach of Contract, Fraud
     Amount requested            $1,500,000.00




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                    page 6
            Case 8:18-bk-12565-TA               Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04               Desc
                                                Main Document    Page 23 of 72
Debtor      Anton & Chia, LLP                                                   Case number (if known)
            Name

    Brian Rusywick - Botfly / Titan Capital
    2526 Ballesteros Lane
    P.O. Box 14244
    Irvine, CA 92623

    David P Mclaughlin
    David Diaz
    McLauphlin & Associates, LLC
    3806 Serenade Ln #225
    Lakeland, FL 33811

    Pavlo Zaderej
    Prime Grouo Holdings, LLC
    85 Railroad Place
    Saratoga Springs, NY 12866

    Robert Arkelian                                                                                       $555,000.00
    Nature of claim         Breach of Contract Fraud
    Amount requested        $555,000.00

    Kevin Su
    Helen Lu
    ZH CPA LLP
    220-1075 West Georgia St.
    Vancouver, BC
    V6E3C9, Canada                                                                                       $2,500,000.00
    Nature of claim         Breach of Contract Fraud
    Amount requested        $2,500,000.00

    Brian Rusywick
    2526 Ballesteros Lane
    P.O. Box 14244
    Irvine, CA 92623

    Rahul Gandhi
    50 Palatine Street, #422
    Irvine, CA 92612

    BF Borger CPAs
    5400 W. Cedar Ave.
    Lakewood, CO 80226                                                                                    $300,000.00
    Nature of claim         Breach of Contract Fraud
    Amount requested        $300,000.00

    Gustavo Fridman
    Martini Iosue & Akpovi CPA
    16830 Ventura Blvd. #501
    Encino, California 91436                                                                              $550,000.00
    Nature of claim         Breach of Contract Fraud
    Amount requested        $550,000.00




Official Form 206A/B                      Schedule A/B: Assets -- Real and Personal Property                     page 7
            Case 8:18-bk-12565-TA              Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04             Desc
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Debtor      Anton & Chia, LLP                                                  Case number (if known)
            Name

    Thomas Tignino
    Ellyn Wallen
    860 Hampshire Rd
    Westlake Village, CA 91361                                                                          $500,000.00
    Nature of claim        Breach of Contract Fraud
    Amount requested       $500,000.00

    Ben Chung
    1100 N. Tustin Ave. 2nd Fl
    Anaheim, CA 92807

    Robert Han
    10640 Costello Drive
    Tustin, CA 92782

    Juane Jaime
    1817 Alcove Way
    Anaheim, CA 92805

    Carlos Reynoso
    3 Rollizo Street
    Rancho Mission Viejo CA 92694

    Benjamin & Young, LLP
    1100 N. Tustin Ave., 2nd Floor
    Anaheim, CA 92807                                                                                   $764,000.00
    Nature of claim        Breach of Contract Fraud
    Amount requested       $764,000.00

    Tommy Shek (Lap Kei Shek)
    1901 E. Amar Road, #123
    West Covina, CA 91792                                                                               $220,000.00
    Nature of claim        Breach of Contract Fraud
    Amount requested       $220,000.00

    Kamille Pascuille
    7431 Edinger Ave., #309
    Huntington Beach, CA 92647                                                                           $50,000.00
    Nature of claim        Breach of Contract Fraud
    Amount requested       $50,000.00

    James River Holding Corporation
    1220047710 Jams
    c/o Mary M. Clapp
    2518 S. Campbell Ave.
    Springfield, MO 65807

    Company
    1414 Raleigh Road #405
    Chapel Hill, NC 27517                                                                               $127,412.94
    Nature of claim        Breach of Contract
    Amount requested       $127,412.94




Official Form 206A/B                     Schedule A/B: Assets -- Real and Personal Property                   page 8
            Case 8:18-bk-12565-TA            Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04            Desc
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Debtor      Anton & Chia, LLP                                                Case number (if known)
            Name

    Powerdyne, Inc
    100 Jefferson Blvd. # 200
    Warwick, RI 02888                                                                                  $5,250.00
    Nature of claim       Over 90 days old
    Amount requested      $5,250.00

    Intelligent Highway Solutions
    Attn. Devon Jones
    2376 Gold River Rd, #100
    Rancho Cordova, CA 95670                                                                          $58,604.00
    Nature of claim       Over 90 days old
    Amount requested      $58,604.00

    Chess Supersite Corp.
    Attn. Rubin Schinderman
    1131A Leslie St. #201
    Toronto, Canada A6 M3C 3L8                                                                         $6,385.00
    Nature of claim       Over 90 days old
    Amount requested      $6,385.00

    Aisa Pacific Boiler
    Attn. John Gong
    Tower 2, Unit 10 & 11, Lippo Center
    89, Queensway, Admirality Hong Kong                                                               $28,070.00
    Nature of claim       Over 90 days old
    Amount requested      $28,070.00

    Klean Treatment / White Rabbit
    Attn. Darryl Oliver
    9000 Sunset Blvd, #1560
    West Hollywood, CA 90069                                                                          $20,000.00
    Nature of claim       Over 90 days old
    Amount requested      $20,000.00

    Natural Resources Corp / M-Power Group
    Attn. Perry Holzgraf Elculier
    76 Playfair Road, #03-06
    Singapore, 367996                                                                                 $67,936.76
    Nature of claim       Over 90 days old
    Amount requested      $67,936.76

    Avstar Aviation Services, Inc
    3707 Westcenter Drive, #200
    Houston, TX 77942                                                                                  $4,500.00
    Nature of claim       Over 90 days old
    Amount requested      $4,500.00

    Consumer Direct Inc.
    Attn. David Coulter
    3187 Red Hill Ave. #100,
    Costa Mesa, CA 92626                                                                               $5,527.50
    Nature of claim       Over 90 days old
    Amount requested      $5,527.00



Official Form 206A/B                   Schedule A/B: Assets -- Real and Personal Property                  page 9
            Case 8:18-bk-12565-TA            Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04            Desc
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Debtor      Anton & Chia, LLP                                                Case number (if known)
            Name

    Precious Metals Exploration Corporation
    Attn. Robert Russell
    311 W. 3rd Street
    Carson City, NV 89703                                                                              $8,024.00
    Nature of claim       Over 90 days old
    Amount requested      $8,024.00

    Adama Technologies
    1000 N. Green Valley Pkwy, #440-480
    Henderson, NV 89074                                                                                $2,625.00
    Nature of claim       Over 90 days old
    Amount requested      $2,625.00

    AFH Aquisition
    Attn. Amir Heshmatpour
    269 S. Beverly Dr.
    Beverly Hills, CA 90212                                                                            $2,500.00
    Nature of claim       Over 90 days old
    Amount requested      $2,500.00

    Vintage Affiliated Holdings
    Attn. Tony Isaac
    325 E. Warn Springs Road
    Las Vegas, NV 89119                                                                                $3,500.00
    Nature of claim       Over 90 days old
    Amount requested      $3,500.00

    Peak Aviation, LLC
    6960 The Preserve Way
    San Diego, CA 92130                                                                                $2,430.00
    Nature of claim       Over 90 days old
    Amount requested      $2,430.00

    China Longyi Group International Holdings LTD
    54 Pine St. 4th Fl
    New York, NY 10005                                                                                $30,000.00
    Nature of claim       Breach of Contract
    Amount requested      $30,000.00

    Consumer Direct Tax
    Attn. David Coulter
    3187 Red Hill Ave. #100,
    Costa Mesa, CA 92626                                                                               $2,375.00
    Nature of claim       Breach of Contract
    Amount requested      $2,375.00

    Patwan, Inc. dba French Grille
    Attn. Patrick Halcewicz
    2567 Greyling Drive
    San Diego, CA 92123                                                                                $2,810.00
    Nature of claim       Breach of Contract
    Amount requested      $2,810.00




Official Form 206A/B                   Schedule A/B: Assets -- Real and Personal Property                 page 10
            Case 8:18-bk-12565-TA             Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04             Desc
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Debtor      Anton & Chia, LLP                                                 Case number (if known)
            Name

    Shengmin Equity Investment, LLP
    Address Unknown                                                                                     $19,938.23
    Nature of claim       Over 90 days old
    Amount requested


    Sichuan Sunrise Technology, LTD
    c/o ms. Xin chen
    #3, floor 4, Block 2
    No. 66 Tianfu 4th Street
    Chengdu, Sichuan Province                                                                          $123,140.11
    Nature of claim       Over 90 days old
    Amount requested


    Shuhai Information Technology Co, LTD
    1 Xinghuo Rd., Changning Building
    Fengtai District, Beijing
    P.R. China                                                                                           $4,850.00
    Nature of claim       Over 90 days old
    Amount requested      $4,850.00

    StemGen, Inc.
    800 Town & Country Blvd.#300
    Houston, TX 77024                                                                                   $24,648.50
    Nature of claim       Over 90 days old
    Amount requested      $24,648.50

    The Hit Chanel, Inc.
    566 W. Adams St. #250
    Chicago, IL 60661                                                                                    $8,400.00
    Nature of claim       Over 90 days old
    Amount requested      $8,400.00

    U BID Holdings, Inc.
    566 W. Adams St. #250
    Chicago, IL 60661                                                                                   $67,922.50
    Nature of claim       Breach of Contract
    Amount requested      $67,922.50

    Wellspring Industry, Inc.
    2100 E. Valencia Dr. #B-1
    Fullerton, CA 92831                                                                                 $45,000.00
    Nature of claim       Over 90 days old
    Amount requested      $45,000.00

    Wuxi Jincheng Curtain Wall Eng. Co
    229 Changjiang East Road
    Shuofang New Area
    Wuxi, 214024
    China                                                                                              $130,000.00
    Nature of claim       Breach of Contract
    Amount requested      $130,000.00




Official Form 206A/B                    Schedule A/B: Assets -- Real and Personal Property                  page 11
                Case 8:18-bk-12565-TA                            Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04                                              Desc
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Debtor          Anton & Chia, LLP                                                                               Case number (if known)
                Name

      NextGlass Technology, Inc.
      215 Apolena Ave.
      Newport Beach, CA 92660                                                                                                                               $9,975.00
      Nature of claim                  Breach of Contract
      Amount requested                 $9,975.00

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                         $7,750,824.54

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                         Current value of                         Current value of
                                                                               personal property                        real property


80. Cash, cash equivalents, and financial assets.                                              $0.00
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                      $12,632.41

82. Accounts receivable. Copy line 12, Part 3.                                        $600,999.26

83. Investments. Copy line 17, Part 4.                                                         $0.00

84. Inventory. Copy line 23, Part 5.                                                           $0.00

85. Farming and fishing-related assets.                                                        $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                              $100.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                        $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9................................................................                              $0.00

89. Intangibles and intellectual property.                                         $1,500,000.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                  +    $7,750,824.54

91. Total. Add lines 80 through 90 for each column.                    91a.        $9,864,556.21            +    91b.                 $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.......................................................................................   $9,864,556.21




Official Form 206A/B                                     Schedule A/B: Assets -- Real and Personal Property                                                     page 12
               Case 8:18-bk-12565-TA                  Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04                                      Desc
                                                      Main Document    Page 29 of 72
 Fill in this information to identify the case:
 Debtor name          Anton & Chia, LLP

 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number                                                                                                      Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          East West Bank                                   subject to a lien                                    $977,820.00                    $0.00

          Creditor's mailing address                       Real Property & UCC 1
          14945 Jeffrey Rd. #150                           Describe the lien
          Irvine, 92618                                    Secured Loans / Agreement
                                                           Is the creditor an insider or related party?
                                                            No
          Creditor's email address, if known                Yes
                                                           Is anyone else liable on this claim?
          Date debt was incurred       2015                 No
          Last 4 digits of account                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          number                       0    2    7    4    As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                  Contingent
              No                                              Unliquidated
          
              Yes. Specify each creditor, including this      Disputed
          
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                              $2,050,928.00


Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
             Case 8:18-bk-12565-TA                       Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04                                      Desc
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Debtor       Anton & Chia, LLP                                                                Case number (if known)

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.2     Creditor's name                                      Describe debtor's property that is
         East West Bank                                       subject to a lien                                    $802,108.00                    $0.00

         Creditor's mailing address                           Real Property UCC Filing 1
         14945 Jeffrey Rd. #150                               Describe the lien
         Irvine, 92618                                        Secured Loans / Agreement
                                                              Is the creditor an insider or related party?
                                                               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred        2015                    No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                          0    2      7   5    As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines

 2.3     Creditor's name                                      Describe debtor's property that is
         Swift Financial Corporation                          subject to a lien                                    $234,000.00                    $0.00

         Creditor's mailing address                           UCC Filing 2
         dba Swift Capital                                    Describe the lien
         c/o Law Office of Daren M. Schlecter AP Business Loan / Agreement
         1925 Century Park East #830                          Is the creditor an insider or related party?
         Los Angeles                CA       90067             No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred        20017                   No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                          7    9      0   3    As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
             Case 8:18-bk-12565-TA                       Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04                                      Desc
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Debtor       Anton & Chia, LLP                                                                Case number (if known)

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.4     Creditor's name                                      Describe debtor's property that is
         Yellowstone Capital West                             subject to a lien                                     $37,000.00                    $0.00

         Creditor's mailing address                           UCC Filing 3
         1 Evertrust Plaza 14th Fl                            Describe the lien
                                                              Loan / Agreement
                                                              Is the creditor an insider or related party?
         Jersey City                NJ       07302             No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred          2016                  No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                          n      t    o   n    As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
               Case 8:18-bk-12565-TA                  Doc 1 Filed 07/15/18 Entered 07/15/18 23:51:04                                  Desc
                                                      Main Document    Page 32 of 72
 Fill in this information to identify the case:
 Debtor              Anton & Chia, LLP

 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number                                                                                                  Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                         12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the            $178,500.00           $178,500.00
                                                                claim is: Check all that apply.
Californa Dept of Tax and Fee Admi
                                                                   Contingent
P.O. Box 942879                                                     Unliquidated
                                                                
Sacramento, CA94279                                                Disputed

                                                                Basis for the claim:
                                                                Employment Tax
Date or dates debt was incurred
                                                                Is the claim subject to offset?
2017
Last 4 digits of account
                                                                 No
number       n    t   o      n
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



     2.2   Priority creditor's name and mailing address         As of the petition filing date, the            $416,500.00           $416,500.00
                                                                claim is: Check all that apply.
Internal Revenue Service
                                                                   Contingent
Central Insolvency Operations                                       Unliquidated
                                                                
P.O. Box 7346                                                      Disputed

                                                                Basis for the claim:
Philadelphia                          PA      19101             Payroll Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
2016
Last 4 digits of account
                                                                 No
number       n    t   o      n
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


  2.3     Priority creditor's name and mailing address      As of the petition filing date, the                 $51.76             $51.76
                                                            claim is: Check all that apply.
State of California Franchise Tax Bd
                                                               Contingent
Bankruptcy Dept.                                                Unliquidated
                                                            
P.O. Box 2952                                                  Disputed

                                                            Basis for the claim:
Sacramento                         CA     95812             Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
2018
Last 4 digits of account
                                                             No
number       n    t   o    n
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



  2.4     Priority creditor's name and mailing address      As of the petition filing date, the               $2,185.88             $0.00
                                                            claim is: Check all that apply.
Ventura County Tax Collector
                                                               Contingent
800 S. Victoria Ave.                                            Unliquidated
                                                            
                                                               Disputed

                                                            Basis for the claim:
Ventura                            CA      93009            Tax
Date or dates debt was incurred
                                                            Is the claim subject to offset?
2017
Last 4 digits of account
                                                             No
number       n    t   o    n
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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 Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
       claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim

     3.1   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                    $3,200.00
                                                                    Check all that apply.
ABM Parking Bayview                                                  Contingent
501 Bayview Circle #9                                                Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:
Newport Beach                             CA        92660           Parking

Date or dates debt was incurred          2018                       Is the claim subject to offset?

Last 4 digits of account number          n      t   o     n
                                                                     No
                                                                     Yes

     3.2   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                   $20,280.00
                                                                    Check all that apply.
Accounting Principles                                                Contingent
Dept. CH 47164                                                       Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:
Palatine                                  IL        60055           Services

Date or dates debt was incurred          2017                       Is the claim subject to offset?

Last 4 digits of account number          n      t   o     n
                                                                     No
                                                                     Yes

     3.3   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                      $600.00
                                                                    Check all that apply.
ADR Services, Inc.                                                   Contingent
1900 Avenue of the Stars #200                                        Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:
Los Angeles                               CA        90067           Arbitration Fees

Date or dates debt was incurred          2017                       Is the claim subject to offset?

Last 4 digits of account number           2     0   6     4
                                                                     No
                                                                     Yes

     3.4   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                      $780.00
                                                                    Check all that apply.
AICPA                                                                Contingent
1455 Pennsylvania Ave. NW                                            Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:
Washington                                DC        20004           Services

Date or dates debt was incurred          2018                       Is the claim subject to offset?

Last 4 digits of account number          n      t   o     n
                                                                     No
                                                                     Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $27,199.48
                                                               Check all that apply.
ARG, Inc.                                                       Contingent
c/o Steven A. Booska                                            Unliquidated
P.O. Box 2169                                                   Disputed
                                                               Basis for the claim:
Oakland                                CA       94621          Breach of Contract

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       2     4   7     6
                                                                No
                                                                Yes

  3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,696.40
                                                               Check all that apply.
Ariyanto Salim                                                  Contingent
122 Pepper Rd.                                                  Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Newbury Park                           CA       91320          Consulting Fees

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       C     h   i     a
                                                                No
                                                                Yes

  3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $44,153.18
                                                               Check all that apply.
BB&T Commercial Equipment                                       Contingent
c/o Barbara Lanza Farley APC                                    Unliquidated
P.O. Box 53659                                                  Disputed
                                                               Basis for the claim:
Philadelphia                           PA       19105          Lease Termination

Date or dates debt was incurred      2016                      Is the claim subject to offset?

Last 4 digits of account number       0     8   8     8
                                                                No
                                                                Yes

  3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $14,000.00
                                                               Check all that apply.
Benjamin & Young                                                Contingent
1100 N. Tustin Ave. Fl 2                                        Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Anaheim                                CA       92807          Services

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.9     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $1,360.82
                                                                Check all that apply.
Blue Sheild of California                                        Contingent
Attn. Nora Galicia                                               Unliquidated
4203 Town Center Dr.                                             Disputed
                                                                Basis for the claim:
El Dorado Hills                        CA        95762          Insurance

Date or dates debt was incurred      2018                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.10     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $3,795.00
                                                                Check all that apply.
Boyer Moving and Storage                                         Contingent
12556 Kirkham Ct. #6                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Poway                                  CA        92064          Services

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.11     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $32,524.69
                                                                Check all that apply.
Cannon Financial Services, Inc                                   Contingent
158 Gaither Dr. #200                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mount Laurel                           NJ        08054          Lease Termination

Date or dates debt was incurred      2018                       Is the claim subject to offset?

Last 4 digits of account number       6     0    0     2
                                                                 No
                                                                 Yes

 3.12     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $31,000.00
                                                                Check all that apply.
Chen Li                                                          Contingent
c/o Kalab A. Honeu                                               Unliquidated
2600 East Coast Highway                                          Disputed
                                                                Basis for the claim:
Corona del Mar                         CA        92625          Collecting for - Commissions

Date or dates debt was incurred      2917                       Is the claim subject to offset?

Last 4 digits of account number       0     7    7     9
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

 3.13    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $150.85
                                                               Check all that apply.
Computer Repair Solutions                                       Contingent
17901 Von Karmen Ave. #600                                      Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Irvine                                 CA       92614          Repair

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.14    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $1,394.36
                                                               Check all that apply.
Concur Technologies, Inc.                                       Contingent
c/o Wagner, Falconer & Judd, LTD                                Unliquidated
100 S. Fifth St. #800                                           Disputed
                                                               Basis for the claim:
Minneapolis                            MN       55402          Service

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.15    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $337.00
                                                               Check all that apply.
Cordata Record Services                                         Contingent
P.O. Box 842638                                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Los Angeles                            CA       90084          Services

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.16    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $4,333.00
                                                               Check all that apply.
Cornerstone Research, Inc.                                      Contingent
2 Embarcadero Ctr. 20th Fl                                      Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Francisco                          CA       94111          Services

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes




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 3.17     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $3,281.89
                                                                Check all that apply.
County of Orange Tax Collector                                   Contingent
P.O. Box 1438                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Santa Ana                              CA        92702          Taxes

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       5     4    6     8
                                                                 No
                                                                 Yes

 3.18     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $45,910.00
                                                                Check all that apply.
CSP Networks                                                     Contingent
18 Technology Dr. #118                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Irvine                                 CA        92618          Sevices

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.19     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:            $237,000.00
                                                                Check all that apply.
Dell Financial Services                                          Contingent
One Dell Way                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Round Rock                             TX        78682          Equipment

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       5     5    3     9
                                                                 No
                                                                 Yes

 3.20     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $1,108.93
                                                                Check all that apply.
Doc u Products                                                   Contingent
4535 McGrath St. #A                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Ventura                                CA        93003          Service

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

 3.21    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $93,440.67
                                                               Check all that apply.
Faegre, Baker & Daniels                                         Contingent
1700 Lincoln St.                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Denver                                 CO       80203          Services

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.22    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $23,421.00
                                                               Check all that apply.
Faegre, Baker, Daniels, LLP                                     Contingent
3200 Wells Fargo Center                                         Unliquidated
1700 Lincoln St.                                                Disputed
                                                               Basis for the claim:
Denver                                 CO       80203          Legal Fees

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.23    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $772.20
                                                               Check all that apply.
Federal Express Corp                                            Contingent
P.O. Box 7221                                                   Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Pasadena                               CA       91109          Delivery

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.24    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $12,252.70
                                                               Check all that apply.
Fisher Phillips                                                 Contingent
2050 Main St. #1000                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Irvine                                 CA       92614          Service

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes




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 3.25     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $450.00
                                                                Check all that apply.
Foundation Appraisal Mgmt                                        Contingent
9300 Flair Dr. 6th Fl                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
El Monte                               CA        91731          Service

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.26     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $1,150.00
                                                                Check all that apply.
Fragomen, Del Rey, Bersen & Loewy                                Contingent
75 Remittance Dr. $6072                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL        60675          Service

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.27     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $581.36
                                                                Check all that apply.
Frontier Communication                                           Contingent
P.O. Box 740407                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cincinati                              OH        45274          Utility

Date or dates debt was incurred      2018                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.28     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $20,659.81
                                                                Check all that apply.
Gantman & Assoc.                                                 Contingent
6520 Platt Ave. #836                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
West Hills                             CA        91307          Services

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

 3.29    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $81,521.57
                                                               Check all that apply.
Gartenberg, Gelfand, Hayton, LLP                                Contingent
15260 Ventura Blvd. #1920                                       Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Sherman Oaks                           CA       91403          Legal Fees

Date or dates debt was incurred      2012-2018                 Is the claim subject to offset?

Last 4 digits of account number       8     1   0     5
                                                                No
                                                                Yes

 3.30    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:          $4,075,000.00
                                                               Check all that apply.
Georgia and Greg Wahl                                           Contingent
Wahl Family Trust                                               Unliquidated
101 hallmark, Irvine                                            Disputed
                                                               Basis for the claim:
Irvine                                 CA       92620          Loans

Date or dates debt was incurred      2009-2017                 Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.31    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $1,800.00
                                                               Check all that apply.
Green Maple Law Group, APC                                      Contingent
795 Jeffrey Rd. #201                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Irvine                                 CA       92618          Services

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.32    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $26,612.50
                                                               Check all that apply.
Greenberg Glusker                                               Contingent
1900 Avenue of the Stars #2100                                  Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Los Angeles                            CA       90067          Legal Fees

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

 3.33     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $8,711.33
                                                                Check all that apply.
Greenberg Grant & Richards                                       Contingent
5858 Westheimer #500                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Huston                                 TX        77057          Legal Fees

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.34     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $16,616.31
                                                                Check all that apply.
Helen Lu Professionals                                           Contingent
5811 Cooney Rd. #305                                             Unliquidated
South Tower                                                      Disputed
Richmond, British Columbia                                      Basis for the claim:
                                                                Service

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.35     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $1,171.50
                                                                Check all that apply.
Hwang & Weiss                                                    Contingent
625 Fair Oaks Ave. #377                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
South Pasadena                         CA        91030          Legal Fees

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.36     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $7,818.29
                                                                Check all that apply.
Intuit Lacerte                                                   Contingent
P.O. Box 52103                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Phoenix                                AZ        85072          Product

Date or dates debt was incurred      2018                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

 3.37    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $26,509.51
                                                               Check all that apply.
IPFS Corporation                                                Contingent
P.O. Box 100391                                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Pasadena                               CA       91189          Service

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.38    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $23,000.00
                                                               Check all that apply.
Jennifer Lutz                                                   Contingent
11622 El Camino Real, #300                                      Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Diego                              CA       92130          Legal Fees

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.39    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $75,000.00
                                                               Check all that apply.
Kevin Su                                                        Contingent
220-1075 West Georgia St.                                       Unliquidated
Vancouver, BC                                                   Disputed
Canada, V6E3C9                                                 Basis for the claim:
                                                               Fees

Date or dates debt was incurred      2016                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.40    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $793.27
                                                               Check all that apply.
Leonardo D. Lopez                                               Contingent
913602 Van Dyke St.                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Thousand Oaks                          CA       91360          Services

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

 3.41    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $10,500.00
                                                               Check all that apply.
Marathon Financial                                              Contingent
6351 Owensmouth Ave.                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Woodland Hills                         CA       91367          Loan

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.42    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:            $200,000.00
                                                               Check all that apply.
Matthew and Carly Wahl                                          Contingent
Children's Trust                                                Unliquidated
101 hallmark, Irvine                                            Disputed
                                                               Basis for the claim:
Irvine                                 CA       92620          Loans

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.43    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $3,500.00
                                                               Check all that apply.
Michael, Evrensel & Pawar LLP                                   Contingent
P.O. Box 11125                                                  Unliquidated
Vancouver, BC                                                   Disputed
Canada, V6E3P3                                                 Basis for the claim:
                                                               Fees

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.44    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $625.00
                                                               Check all that apply.
National Investor Relations Institute                           Contingent
225 Reinelers Ln                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Alexandra                              VA       22314          Service

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

 3.45    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $40,000.00
                                                               Check all that apply.
Navitas Credit Corp.                                            Contingent
111 Executive Dr.                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Columbia                               SC       29210          Lease Termination

Date or dates debt was incurred      2015                      Is the claim subject to offset?

Last 4 digits of account number       4     9   5     8
                                                                No
                                                                Yes

 3.46    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:          $2,000,000.00
                                                               Check all that apply.
Nicholas A. Pulecio                                             Contingent
102 Verillion                                                   Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Irvine                                 CA       92603          Breach of Contract

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       0     5   3     0
                                                                No
                                                                Yes

 3.47    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                 $63.16
                                                               Check all that apply.
NLP Investments Inc.                                            Contingent
7110 Residencia                                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Newport Beach                          CA       92660          Product

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.48    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $1,470.36
                                                               Check all that apply.
Paychecks, Inc.                                                 Contingent
Attn. Bankruptcy Dept.                                          Unliquidated
1175 John St.                                                   Disputed
                                                               Basis for the claim:
West Henrietta                         NY       14586          Service

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       0     7   6     6
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

 3.49    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:              $2,641.04
                                                                Check all that apply.
Plaza Del Mar                                                    Contingent
236 S. Sierra Ave. #100                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Solana Beach                           CA        92075          Service

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.50    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:              $1,140.00
                                                                Check all that apply.
Printers and Terminals Maintenance                               Contingent
1636 E. Edinger Ave. #A                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Santa Ana                              CA        92705          Repair

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.51    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:            $564,500.00
                                                                Check all that apply.
Raymond J. Zale & Associates, Inc                                Contingent
c/o Dismuke & Waters                                             Unliquidated
2000 E. Lamar Blvd. #500                                         Disputed
                                                                Basis for the claim:
Arlington                              TX        76006          Collecting for - Raymond J Zale

Date or dates debt was incurred      2016                       Is the claim subject to offset?

Last 4 digits of account number       C     h    i     a
                                                                 No
                                                                 Yes

 3.52    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:             $17,313.89
                                                                Check all that apply.
Regus Management                                                 Contingent
P.O. Box 842456                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX        75284          Lease

Date or dates debt was incurred      2018                       Is the claim subject to offset?

Last 4 digits of account number       N     B    W     L
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

 3.53     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $11,331.90
                                                               Check all that apply.
Rehmann                                                         Contingent
15260 Ventura Blvd. #1920                                       Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Sherman Oaks                           CA       91403          Service

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.54     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,792.55
                                                               Check all that apply.
Reliance Standard Life Ins.                                     Contingent
P.O. Box 34486                                                  Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Seattle                                WA       98124          Insurance

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.55     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,500.00
                                                               Check all that apply.
Robert Han                                                      Contingent
10640 Castello Dr.                                              Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Tustin                                 CA       92782          Service

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.56     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $6,787.50
                                                               Check all that apply.
Sandman Media Inc                                               Contingent
1240-1140 W. Pender St.                                         Unliquidated
Vancouver, BC V6E4G1                                            Disputed
                                                               Basis for the claim:
                                                               Services

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

 3.57    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:          $1,000,000.00
                                                                Check all that apply.
SEC                                                              Contingent
Attn. Bankruptcy Dept                                            Unliquidated
5670 Wilshire Blvd. 11th Fl                                      Disputed
                                                                Basis for the claim:
Los Angeles                            CA        90036          Reporting

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       C     h    i     a
                                                                 No
                                                                 Yes

 3.58    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:            $603,620.00
                                                                Check all that apply.
SKHart Bayview, LLC                                              Contingent
c/o Felman Daggenhurst & El Dabe                                 Unliquidated
13743 Ventura Blvd. # 350                                        Disputed
                                                                Basis for the claim:
Sherman Oaks                           CA        91423          Breach of Lease

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       0     7    0     9
                                                                 No
                                                                 Yes

 3.59    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:             $10,000.00
                                                                Check all that apply.
Stem Gen, Inc.                                                   Contingent
c/o The Kirkland Law Firm PC                                     Unliquidated
12600 N Featherwood Dr. #225                                     Disputed
                                                                Basis for the claim:
Houston                                TX        77034          Fees

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       5     9    4     3
                                                                 No
                                                                 Yes

 3.60    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:             $78,912.00
                                                                Check all that apply.
Stout Risius Ross, LLC                                           Contingent
1550 Wewatta Street 2nd Fl                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Denver                                 CO        80202          Expert Fees

Date or dates debt was incurred      2018                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

 3.61     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $260.00
                                                                Check all that apply.
Superior Shredding Inc.                                          Contingent
2621 Green River Rd. #105                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Corona                                 CA        92882          Service

Date or dates debt was incurred      2018                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.62     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $4,095.84
                                                                Check all that apply.
Susque Hanna Commercial Finance Inc.                             Contingent
2 Country View Rd. #300                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Malvern                                PA        19355          Service

Date or dates debt was incurred      2018                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.63     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
TCA Global Credit Master Fund, LP                                Contingent
19950 W. Country Club Dr., # 101                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Aventura                               FL        33180          Funding

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       C     h    i     a
                                                                 No
                                                                 Yes

 3.64     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $53,720.57
                                                                Check all that apply.
TCF Equipment                                                    Contingent
15450 S. Outer Forty Dr. #220                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chesterfiled                           MO        63017          Breach of Contract

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

 3.65     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $537.35
                                                                Check all that apply.
The Leviton Law Firm, LTD                                        Contingent
3 Golf Center #361                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Hoffman Estates                        IL        60169          Collecting for - The Harford Financial

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       7     2    0     3
                                                                 No
                                                                 Yes

 3.66     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $13,570.38
                                                                Check all that apply.
Thomson, Reuters Tax and Accounting                              Contingent
P.O. Box 71687                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL        60694          Service

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.67     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $29,275.26
                                                                Check all that apply.
United Health Care of CA                                         Contingent
P.O. Box 843118                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Los Angeles                            CA        90084          Insurance

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number       n      t   o     n
                                                                 No
                                                                 Yes

 3.68     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $329.20
                                                                Check all that apply.
Verizon Wireless                                                 Contingent
P.O. Box 660108                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX        75266          Utility

Date or dates debt was incurred      2018                       Is the claim subject to offset?

Last 4 digits of account number       0     0    0     1
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

 3.69    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:            $256,547.00
                                                               Check all that apply.
W. Michael Corson & Co                                          Contingent
c/o Keehn Law Gourp, APC                                        Unliquidated
501 W. Broadway #1025                                           Disputed
                                                               Basis for the claim:
San Diego                              CA       92101          Collecting for - W. Michael Corson

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       7     2   2     3
                                                                No
                                                                Yes

 3.70    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:            $120,160.27
                                                               Check all that apply.
Westlake Park Place, Inc.                                       Contingent
P.O. Box 6149                                                   Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Hicksville                             NY       11802          Lease

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes

 3.71    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $19,482.66
                                                               Check all that apply.
Wolters Kluwer CCH                                              Contingent
20101 Hamilton Ave                                              Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Torrance                               CA       90502          Service

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number       n     t   o     n
                                                                No
                                                                Yes




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 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Everest Business Funding                                              Line                                             2    7    0     6
         2001 NW 107th Ave. #300                                                      Not listed. Explain:
                                                                               
                                                                                      Business Loan


         Miami                         FL      33172


4.2      Office of the United States Trustee                                   Line
         411 W. Fourth St. 7th Fl.                                                    Not listed. Explain:
                                                                               
                                                                                      Required Notification


         Santa Ana                     CA      92701


4.3      Receivables Performance                                               Line                                             0    0    0     1
         20816 44th Ave. W                                                            Not listed. Explain:
                                                                               
                                                                                      Collecting for -Verizon


         Lynnwood                      WA      98036


4.4      Struesand, Landon & Ozburn, LLP                                       Line                                             5    5    3     9
         811 Barton Springs Rd. #811                                                  Not listed. Explain:
                                                                               
                                                                                      Notice Only


         Auston                        TX      78704




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 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                $597,237.64

5b. Total claims from Part 2                                                              5b.   +         $10,031,063.55


5c. Total of Parts 1 and 2                                                                5c.             $10,628,301.19
    Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:
 Debtor name        Anton & Chia, LLP

 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
 (if known)                                                                                                    Check if this is an
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                  04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

        None

Identify the beginning and ending dates of the debtor's fiscal year,           Sources of revenue                             Gross revenue
which may be a calendar year                                                   Check all that apply.                          (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                         Operating a business
                                 From    01/01/2018      to   Filing date
fiscal year to filing date:                                                        Other
                                        MM / DD / YYYY                                                                               $540,000.00

                                                                                  Operating a business
For prior year:                  From    01/01/2017      to    12/31/2017
                                        MM / DD / YYYY        MM / DD / YYYY      Other                                         $5,000,000.00

                                                                                  Operating a business
For the year before that:        From    01/01/2016      to    12/31/2016
                                        MM / DD / YYYY        MM / DD / YYYY      Other                                         $6,815,411.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
     adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)


        None

      Creditor's name and address                             Dates            Total amount or value      Reasons for payment or transfer
                                                                                                          Check all that apply
3.1. Regis                                                    Last three             $8,700.00
                                                                                                             Secured debt
      Creditor's name                                         Months
      5000 Birch St. #3000                                                                                   Unsecured loan repayments
      Street
                                                                                                             Suppliers or vendors
                                                                                                             Services
      Newport Beach                   CA      92660                                                          Other Office Lease
      City                            State   ZIP Code




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Debtor         Anton & Chia, LLP                                                     Case number (if known)
               Name

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
3.2. Regis                                                   Last Three            $5,700.00
                                                                                                         Secured debt
      Creditor's name                                        Months
      2945 Townsgate Rd. #200                                                                            Unsecured loan repayments
      Street
                                                                                                         Suppliers or vendors
                                                                                                         Services
      Westlake Village               CA      91361                                                       Other Lease
      City                           State   ZIP Code

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
3.3. Accounting Principles                                   Last Three            $7,800.00
                                                                                                         Secured debt
      Creditor's name                                        Months
      Dept. CH 47164                                                                                     Unsecured loan repayments
      Street
                                                                                                         Suppliers or vendors
                                                                                                         Services
      Palatine                       IL      60055                                                       Other
      City                           State   ZIP Code

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
3.4. Leonardo D. Lopez                                       Last Three            $6,147.84
                                                                                                         Secured debt
      Creditor's name                                        Months
      913602 Van Dyke St.                                                                                Unsecured loan repayments
      Street
                                                                                                         Suppliers or vendors
                                                                                                         Services
      Thousand Oaks                  CA      91360                                                       Other
      City                           State   ZIP Code

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
3.5. CSP Networks                                            Last Three           $11,250.00
                                                                                                         Secured debt
      Creditor's name                                        Months
      18 Technology Dr. #118                                                                             Unsecured loan repayments
      Street
                                                                                                         Suppliers or vendors
                                                                                                         Services
      Irvine                         CA      92618                                                       Other
      City                           State   ZIP Code

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
3.6. M.J. Shanahan                                           Last Month           $12,500.00
                                                                                                         Secured debt
      Creditor's name
      P.O. Box 789                                                                                       Unsecured loan repayments
      Street
                                                                                                         Suppliers or vendors
                                                                                                         Services
      Pacific Palisades              CA      90272                                                       Other
      City                           State   ZIP Code

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
3.7. Langley & Chang                                         Last Month           $21,000.00
                                                                                                         Secured debt
      Creditor's name
      4158 14th St.                                                                                      Unsecured loan repayments
      Street
                                                                                                         Suppliers or vendors
                                                                                                         Services
      Riverside                      CA      92507                                                       Other
      City                           State   ZIP Code

      Creditor's name and address                            Dates           Total amount or value    Reasons for payment or transfer
                                                                                                      Check all that apply
3.8. Drew Boyd                                               Last Three            $8,388.00
                                                                                                         Secured debt
      Creditor's name                                        Months
      216 S. Lemon St. #C                                                                                Unsecured loan repayments
      Street
                                                                                                         Suppliers or vendors
                                                                                                         Services
      Orange                         CA      92866                                                       Other
      City                           State   ZIP Code




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               Name

      Creditor's name and address                                  Dates            Total amount or value        Reasons for payment or transfer
                                                                                                                 Check all that apply
3.9. Joseph D'errico                                               Last Three             $10,655.00
                                                                                                                    Secured debt
      Creditor's name                                              Months
      P.O. Box 4621                                                                                                 Unsecured loan repayments
      Street
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
      Thousand Oaks                     CA         91359                                                            Other
      City                              State      ZIP Code

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


        None

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.


        None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.


        None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.


        None

      Case title                                Nature of case                          Court or agency's name and address               Status of case
7.1. Gartenberg v. Anton                        Collection of Legal Fees                LA Superior Court
                                                                                                                                             Pending
                                                                                        Name

                                                                                        111 N. Hill St.                                      On appeal
                                                                                        Street
                                                                                                                                             Concluded

      Case number
      BC 708105                                                                         LA                        CA      90012
                                                                                        City                      State   ZIP Code

      Case title                                Nature of case                          Court or agency's name and address               Status of case
7.2. Swift v. Anton                             Business Loan                           OC Superior Court
                                                                                                                                             Pending
                                                                                        Name

                                                                                        701 Civic Center Dr. W                               On appeal
                                                                                        Street
                                                                                                                                             Concluded

      Case number
      00917903                                                                          Santa Ana                 CA      92701
                                                                                        City                      State   ZIP Code




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Debtor       Anton & Chia, LLP                                                       Case number (if known)
             Name

      Case title                        Nature of case                        Court or agency's name and address          Status of case
7.3. Dell v Anton                       Collection                            District Court Travis County
                                                                                                                             Pending
                                                                              Name

                                                                                                                             On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      D-1-GN-17-005539                                                        Austin                   TX
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
7.4. BB7T v.Anton                       Lease Termination                     Court of Common Pleas
                                                                                                                             Pending
                                                                              Name

                                                                                                                             On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      CL-17-10888
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
7.5. Nicolas Pulecio v. Anton            Breach of Contract                   Orange County Superior Court
                                                                                                                             Pending
                                                                              Name

                                                                              700 Civic Center Dr. W                         On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      2016-00861385                                                           Santa Ana                CA      92701
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
7.6. Salim v. Anton                     Small Claims Collection               Orange County Small Claims Court
                                                                                                                             Pending
                                                                              Name

                                                                              701 Civic Center Dr. W                         On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      00508328                                                                Santa Ana                CA      92701
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
7.7. Corson v. Anton                    Breach of Contract                    San Diego County Supeior Court
                                                                                                                             Pending
                                                                              Name

                                                                                                                             On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      17-00017223                                                             San Diego                CA
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
7.8. SK Hart Bayview v. Anton           Breach of Lease                       Orange County Superior Court
                                                                                                                             Pending
                                                                              Name

                                                                              701 Civic Center Dr. W                         On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      18-00990709                                                             Santa Ana                CA      92701
                                                                              City                     State   ZIP Code




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Debtor       Anton & Chia, LLP                                                       Case number (if known)
             Name

      Case title                        Nature of case                        Court or agency's name and address          Status of case
 7.9. Stem Gen v. Anton                 Fees                                  Judicial Court Harris County Texas
                                                                                                                             Pending
                                                                              Name

                                                                                                                             On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      18-292594-3
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
7.10. Arg, Inc.                         Breach of Contract                    Orange County Superior Court
                                                                                                                             Pending
                                                                              Name

                                                                              701 Civic Center Dr. W                         On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      17-00954276                                                             Santa Ana                CA      92701
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
7.11. Navitas Credit Corp               Breach of Contract Lease              Orange County Superior Court
                                                                                                                             Pending
                                                                              Name

                                                                              701 Civic Center Dr. W                         On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      18-00984958                                                             Santa Ana                CA      92701
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
7.12. Chen Li Attorney                  Commissions                           Orange County Superior Court
                                                                                                                             Pending
                                                                              Name

                                                                              701 Civic Center Dr. W                         On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      18-00970779                                                             Santa Ana                CA      92701
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
7.13. SEC v. Anton                      SEC Violation                         SEC
                                                                                                                             Pending
                                                                              Name

                                                                              200 Vesey St. #400                             On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      File 3-18292                                                            New York                 NY      10291
                                                                              City                     State   ZIP Code




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Debtor          Anton & Chia, LLP                                                          Case number (if known)
                Name

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None

 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

         None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.


         None

         Who was paid or who received the transfer?            If not money, describe the property              Dates               Total amount
                                                               transferred                                                          or value
 11.1. Totaro & Shanahan                                       Plus Filng Fee of $1,717.00                      6/7/2018               $25,000.00

         Address

         P.O. Box 789
         Street


         Pacific Palisades           CA       90272
         City                        State    ZIP Code

         Email or website address



         Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


         None




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Debtor       Anton & Chia, LLP                                                             Case number (if known)
             Name

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.


        None

 Part 7:        Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

        Does not apply


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

      diagnosing or treating injury, deformity, or disease, or

      providing any surgical, psychiatric, drug treatment, or obstetric care?

        No. Go to Part 9.
        Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

        No.
        Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                 No.
                 Yes.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

        No. Go to Part 10.
        Yes. Does the debtor serve as plan administrator?
               No. Go to Part 10.
               Yes. Fill in below:




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             Name


 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.


        None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

        None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

        None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


        None

 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

 Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
  the medium affected (air, land, water, or any other medium).


 Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
  formerly owned, operated, or utilized.

 Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
  similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

        No
        Yes. Provide details below.




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             Name

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

        No
        Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

        No
        Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

        None

26. Books, records, and financial statements

     26a.   List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

               None

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

               None

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

               None

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

               None

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

        No.
        Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                      Position and nature of any interest         % of interest, if any

Gregory Anton Wahl                       P.O. Box 60606                               Partner                                              45%
                                         Irvine, CA 92602
Georgia Chia-Chen Chung                  P.O. Box 60606                               Partner                                              45%
                                         Irvine, CA 92602
Wahl Chung Children’s Trust              P.O. Box 60606                               Limited Partner                                      10%
                                         Irvine, CA 92602
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

        No
        Yes. Identify below.

Name                                     Address                                      Position and nature of        Period during which position
                                                                                      any interest                  or interest was held




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                                             Chapter:                                               Desc
                                                                                                      ANA DIVISION
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ABM Parking Bayview                       Californa Dept of Tax and Fee Adm Doc u Products
501 Bayview Circle #9                     P.O. Box 942879                        4535 McGrath St. #A
Newport Beach, CA 92660                   Sacramento, CA94279                    Ventura, CA 93003


Accounting Principles                     Cannon Financial Services, Inc         East West Bank
Dept. CH 47164                            158 Gaither Dr. #200                   14945 Jeffrey Rd. #150
Palatine, IL 60055                        Mount Laurel, NJ 08054                 Irvine, 92618


ADR Services, Inc.                        Chen Li                                Everest Business Funding
1900 Avenue of the Stars #200             c/o Kalab A. Honeu                     2001 NW 107th Ave. #300
Los Angeles, CA 90067                     2600 East Coast Highway                Miami, FL 33172
                                          Corona del Mar, CA 92625

AICPA                                     Computer Repair Solutions              Faegre, Baker & Daniels
1455 Pennsylvania Ave. NW                 17901 Von Karmen Ave. #600             1700 Lincoln St.
Washington, DC 20004                      Irvine, CA 92614                       Denver, CO 80203


ARG, Inc.                                 Concur Technologies, Inc.              Faegre, Baker, Daniels, LLP
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P.O. Box 2169                             100 S. Fifth St. #800                  1700 Lincoln St.
Oakland, CA 94621                         Minneapolis, MN 55402                  Denver, CO 80203

Ariyanto Salim                            Cordata Record Services                Federal Express Corp
122 Pepper Rd.                            P.O. Box 842638                        P.O. Box 7221
Newbury Park, CA 91320                    Los Angeles, CA 90084                  Pasadena, CA 91109


BB&T Commercial Equipment                 Cornerstone Research, Inc.             Fisher Phillips
c/o Barbara Lanza Farley APC              2 Embarcadero Ctr. 20th Fl             2050 Main St. #1000
P.O. Box 53659                            San Francisco, CA 94111                Irvine, CA 92614
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1100 N. Tustin Ave. Fl 2                  P.O. Box 1438                          9300 Flair Dr. 6th Fl
Anaheim, CA 92807                         Santa Ana, CA 92702                    El Monte, CA 91731


Blue Sheild of California                 CSP Networks                           Fragomen, Del Rey, Bersen & Loew
Attn. Nora Galicia                        18 Technology Dr. #118                 75 Remittance Dr. $6072
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El Dorado Hills, Ca 95762

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12556 Kirkham Ct. #6                      One Dell Way                           P.O. Box 740407
Poway, CA 92064                           Round Rock, TX 78682                   Cincinati, OH 45274
 Debtor(s): Anton & Chia, LLP               Case No:                                     CENTRAL DISTRICT OF CALIFORNIA
                  Case 8:18-bk-12565-TA     Doc    1 11 Filed 07/15/18 Entered 07/15/18 23:51:04SANTA
                                             Chapter:                                               Desc
                                                                                                      ANA DIVISION
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Gantman & Assoc.                          IPFS Corporation                       NLP Investments Inc.
6520 Platt Ave. #836                      P.O. Box 100391                        7110 Residencia
West Hills, CA 91307                      Pasadena, CA 91189                     Newport Beach, CA 92660


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Sherman Oaks, CA 91403                    San Diego, CA 92130                    Santa Ana, CA 92701


Georgia and Greg Wahl                     Kevin Su                               Paychecks, Inc.
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Irvine, CA 92620                          Canada, V6E3C9                         West Henrietta, NY 14586

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Helen Lu Professionals                    Michael, Evrensel & Pawar LLP          Receivables Performance
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Central Insolvency Operations             111 Executive Dr.                      15260 Ventura Blvd. #1920
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 Debtor(s): Anton & Chia, LLP               Case No:                                     CENTRAL DISTRICT OF CALIFORNIA
                  Case 8:18-bk-12565-TA     Doc    1 11 Filed 07/15/18 Entered 07/15/18 23:51:04SANTA
                                             Chapter:                                               Desc
                                                                                                      ANA DIVISION
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Robert Han                                Swift Financial Corporation            Wolters Kluwer CCH
10640 Castello Dr.                        dba Swift Capital                      20101 Hamilton Ave
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1240-1140 W. Pender St.                   19950 W. Country Club Dr., # 101 1 Evertrust Plaza 14th Fl
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                                          San Diego, CA 92101

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